                    Case: 3:22-cv-00383-jdp Document #: 1-1 Filed: 07/13/22 Page 1 of 4
DEPARTMENT OF CORRECTIONS                                Pkit1t1iff!S fJ.7fAt:-lfm£A·r                                             WISCONSIN


                                  pAG~ :''.1
Division of Adult Institutions                                                                                             Ad ministrative Code
DOC-400 (Rev. 3/2019)
                                                   or~'~-,
                                                         #:~ r~e:J.. "t,;..                                                  Chapter DOC 310

                                                   INMATE CUMl-'LAIN ,~------..
OFFICE USE ONLY
DATE RECEIVED                                                              COMPLAINT CODE       COMPLAINT FILE NUMBER

                                                                            - 'eel.le~         W5PF-J"I
INSTRUCTIONS FOR INMATE:
  .. Complete ALL sections of this form
  • You MUST use a DOC-400B, if additional space is needed.
  • Do not use a highlighter or marker on this form. Do not staple or tape this form.
  • The form may be returned to you if you submit an incomplete form or if you do not follow the instructions.
  • Print clearly, illegible forms will not be processed. See reverse side for more information.
INMATE NAME                                                        DOC NUMBER                      HOUSING UN IT        FACI LITY

                                                                      'I'-/ ()L-

ANSWER THE FOLLOWING QUESTIONS IN THE SPACES PROVIDED:

Briefly state who or what is the QN.!;, issue, of this complaint. What remedial action are you requesting?
                                                              11
 Z                r1                 f    4."fd t"l   I

 F'oY1 /.lI1 thyG/c14../ /J'iJuY',~ 1b ;my ff(;,cl11/211<11e(,
With whom did you attempt to resolve your ONE issue, and what was the result of this attempt, prior to subm itting this complaint? Send
any documentation you have, that supports your attempt to resolve your claims.




What are the details surrounding this complaint?




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DEPARTMENT OF CORRECTIONS                                                                                                               WISCONSIN
Division of Adult Institutions                                                                                                   Administrative Code
DOC-400 (Rev. 3/2019)                                                                                                              Chapter DOC 310




                                                          INSTRUCTIONS
The department shall maintain an ·inmate complaint review system that shall be accessible to all inmates in institutions. Prior
to filing a formal complaint, you must attempt to resolve the issue by following the designated process specific to the subject
of the complaint. If you have not done so, the Institution Complaint Examiner (ICE) may direct you to do so.


Each complaint shall meet all of the following requirements:
     (a) Be submitted on a complaint form provided by the department.
     (b) Be legibly handwritteh ortyped.
     (c) Be filed only under the name by which the inmate was committed to the department or the
        . lt,gal name granted by,a court.
     (d) Include the inmate's original signature.,
     (e) Not exceed 500 words total and not exceed two pages.
     (f). Provi,de relevant supporting docun1entation, whi.ch m;iy bei &ccepted at the discreti?n of the I_CE.

The ICE will acknowledge your complaint with an ICE Receipt, or return th~ complaint to you for correction·or with furtr1er"
instructions, within 10 days of receiving your complaint submission. A complaint will not be processed and a referral for
disciplinary action may. occur in accordance with ch. DOC 303 if the complaint contains any of the following:
         (a) Obscene, profane, abusive, or threatening language unless such language is necessc1ry to
                                I   •,           ,   ',   •   •       •       •   ,   •   ''   '   •   •   '   •'   ,,   •   I


              describe the factual basis of the complaint.
         (b) A foreign substance.
Each complaint may contain only one clearly identified issue.
A complaint must contain sufficient information for the department to inves.tlgate and decide the complaint.
A_n inmate may not file more than one complaint per calendar week except that any of the following are not subject to the
filing restrictions contained in this paragraph:
         (a) Complaints regarding the inmate's health and persom;il safety..
         (b) · Complaints made u'nder PREA.




                                         '   '
NOTE: ,The ICRS is governed by the rules in chaptel DOC 31_0, Wi~consin Administrative Code. For more information on using the JCRS,
        please review this chapter.                               .       '




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 DEPARTMENT OF CORRECTIONS                                    , ~    i , /},,n-,                                 WISCONSIN
 Divisio n of Ad ult Institutions       ,,                       tP'b rulll(!,/lmE~,
                                                      . Pltt.1/1.h                                       Ad min istrative Code
 DOC-400B (Rev.3/2019)           PA6G,: ~ DPd...''~   # #., ~/-'r;t5t~O'f'~o                                      Chapter 310


                            INMATE COMPLAINT/APPEAL (C.O NTINUED)
                                    • WSl'F-AIJ1'1-f/i,3'J91
INMATE NAME                                     DOC NUMBER                         HOUSING UNIT     FACILITY




                                                                                                  DATE SIGNED


                                                      ~~t,tU.d                                    rjl'lL.J.Ofl            ~
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                        Case: 3:22-cv-00383-jdp Document #: 1-1 Filed: 07/13/22 Page 4 of 4
DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
Division of Adult Institutions                                                                                   Administrative Code
DOC-4008 (Rev. 3/2019)                                                                                                  Chapter 310


                                                    INSTRUCTIONS
The Department shall maintain an inmate complaint review system that shall be accessible to all inmates in institutions. Prior
to filing a formal complaint, you must attempt to resolve the issue by following the designated process specific to the subject
of the complaint. If you have not done so, the Institution Complaint Examiner (ICE) may direct you to do so.

Each complaint shall meet all of the following requirements:
(a) Be submitted on a complaint form provided by the department.
(b) Be legibly handwritten or typed.
(c) Be filed only under the name by which the inmate was committed to the department or the legal narhe granted by a court.
(d) Include the inmate's original signature.
(e) Not exceed 500 words total and not exceed two pages.
(f) Provide relevant supporting documentation, which may be accepted at the discretion of the ICE.

The ICE will acknowledge your complaint with an ICE Receipt, or return the complaint to you for correction or with further
instructions, within 10 days of receiving your complaint submission.

A complaint will not be processed and a referral for disciplinary action may occur in accordance with Ch. DOC 303 if
the complaint contains any of the following:
          (a) Obscene, profane, abusive, or threatening language unless such language is necessary to describe the
              factual basis of the complaint.
          (b) A foreign substance.

Each complaint may contain only one clearly identified issue. A complaint must contain sufficient information for the
department to investigate and decide the complaint. An inmate may not file more than one complaint per calendar week
except that any of the following are not subject to the filing restrictions contained in this paragraph:
          (a) Complaints regarding the inmate's health and personal safety.
          (b) Complaints made under PREA.

Appeals shall meet all of the following reguirements:
 (a) Be submitted on a form provided by the department.
 (b) Be legibly handwritten or typed.
 (c) Be filed only under the name by which the inmate was committed to the department or the legal name granted by c1
     court.
 (d) Include the inmate's original signature.
 (e) Not exceed 500 words total and not exceed two pages.
 (f) Provide relevant supporting documentation, which may be accepted at the discretion of the CCE.
 (g) Be limited to the. issue raised in the original complaint.

An appeal will not be processed and a referral for disciplinary action may occur in accordance with Ch. DOC 303 if
the complaint contains any of the following:
  (a) Obscene, profane, abusive, or threatening language unless such language is necessary to describe the factual basis of
    the complaint.
  (b) A foreign substance.

NOTE: The ICRS is governed by the rules in chapter DOC 310, Wisconsin Administrative Code. For more information on using the ICRS,
please review this chapter.




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